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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  CITIBANK, N.A.,
                                                           No. 20 Civ. _____ (___)
                                Plaintiff,

                 v.

  HPS INVESTMENT PARTNERS, LLC AND
  SYMPHONY ASSET MANAGEMENT, LLC,                          COMPLAINT


                                Defendants.



       Plaintiff Citibank, N. A. (“Citibank”), by and through its attorneys, respectfully submits

this complaint against defendants HPS Investment Partners (“HPS”), LLC and Symphony Asset

Management, LLC (“Symphony”).

                                 PRELIMINARY STATEMENT

       1.       On August 11, 2020, an operational mistake caused Citibank to transfer

approximately $900 million of its own money to parties that were not entitled to it. When Citibank

discovered the mistake, it promptly asked the recipients to return its money. Defendants, however,

have unlawfully attempted to capitalize on the mistaken overpayment. They have refused to return

Citibank’s money. With respect to HPS, approximately $127,336,420.54 in funds mistakenly paid

by Citibank are at issue. As for Symphony, approximately $109,673,303.62 in funds mistakenly

paid by Citibank are at issue. Defendants’ actions are not just unconscionable; they threaten the

integrity of the administrative agency function and the trust in the global banking system.

       2.       Citibank’s transfer was intended to pass through an interest payment from Revlon,

on a loan for which Citibank acts as an administrative agent. Without justification, defendants have

taken the baseless position that Citibank’s overpayment—more than 100 times the amount of the

intended transfer—served to pay off Revlon’s entire principal balance as well: a balance that was
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not due for another three years, that Revlon did not have available, and that today reportedly trades

at 30 cents on the dollar.

       3.       There is little doubt that Citibank made the payment in error. Some of the best

evidence is that not every lender who received an erroneous payment pocketed the money.

Consistent with industry norms, numerous non-party lenders that received funds by mistake

returned them in good faith and without significant comment or complaint.

       4.       Defendants here behaved differently, despite the clearly erroneous nature of the

payments at issue. Among other things:

                •      the payments were accompanied by calculation statements that showed the
                       correct (and substantially smaller) amount as the “Total Due”;

                •      No payment matching the erroneous transfers was due under the Credit
                       Agreement;

                •      Citibank promptly advised defendants of the error;

                •      Revlon has stated publicly that it did not make a principal payment on its
                       debt and that none was due under the Credit Agreement.

       5.       Defendants have not offered a reasonable explanation for their unlawful retention of

Citibank’s money.

       6.       Defendants’ refusal to return money to which they are not entitled is unlawful.

Under equitable principles as well as the doctrine of conversion, this Court should require

defendants to return Citibank’s money immediately. Any other outcome would threaten the

stability of the banking system and the relationships between administrative agents and lenders, as

it would reward bad actors that try to capitalize on operational mistakes. The global economy

depends on financial institutions being able to efficiently make enormous numbers of payments

every day. While the vast majority of these payments are seamless, the velocity and complexity of

such transactions means that human and technological errors do occur at times. The legal system


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needs to treat these as what they obviously are—mistakes—rather than as opportunities for

unscrupulous actors to seize massive windfalls.

       7.       A related proceeding pending before the Honorable Jesse Furman raises identical

issues as this action.     In that case, Citibank sued another fund manager, Brigade Capital

Management, L.P., who is in a similar position as defendants HPS and Symphony. See Citibank,

N.A., v. Brigade Capital Management, L.P., 20-cv-06539 (JMF). On August 18, 2020 Judge

Furman entered a Temporary Restraining Order against Brigade. Citibank will seek similar

preliminary relief here.

                                            PARTIES

       8.       Citibank is a bank organized under the National Bank Act with its main office

located in South Dakota.

       9.       Defendant HPS is a corporation organized under the laws of Delaware. It has its

principal place of business in New York, New York.

       10.      Defendant Symphony is a corporation organized under the laws of California. It

has its principal place of business in San Francisco, CA. Upon information and belief Symphony

regularly conducts business in New York, New York. It has an office at 100 Park Avenue, New

York, New York 10017.

                                  JURISDICTION AND VENUE

       11.      This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(1)

because the amount in controversy exceeds $75,000 and the parties are citizens of different states.

       12.      This Court has personal jurisdiction over defendants, all of which conduct

substantial business in New York.




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       13.     Venue is also proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because this

is a judicial district in which a substantial part of the events or omissions giving rise to the claim

occurred, and a substantial part of property that is the subject of the action is situated.

                                    FACTUAL ALLEGATIONS

Revlon’s 2016 Loan

       14.     In 2016, Revlon acquired Elizabeth Arden, Inc. The deal was partially facilitated

by a seven-year, $1.8-billion loan. A “Credit Agreement,” governs the loans. HPS and Symphony

manage funds and other entities that are specific lenders under that agreement.

       15.     Citibank serves as the administrative agent and collateral agent for the loan. One

of Citibank’s many duties is to collect payments from Revlon to remit to the lenders under the

Credit Agreement. Another is to maintain a register listing the amount of each loan and payment

(the “Official Register”). The Official Register acts as the definitive record of amounts owed and

received. Under the Credit Agreement, the Official Register is deemed “presumptively correct

absent demonstrable error,” and any error “shall not in any manner affect the obligation of [Revlon]

to repay (with applicable interest) the Loans made to [Revlon] in accordance with the terms of

th[e] Agreement.” § 2.8(c)–(d). Fund Managers have previously, and misleadingly, referred to

documents other than the Official Register as purporting to evidence amounts due (or paid) under

the Credit Agreement. This is incorrect and the Official Record controls.

       16.     Revlon is responsible for making periodic interest payments under the Credit

Agreement. The agreement also permits Revlon to pay principal ahead of schedule but only if

certain requirements are met. Under Section 2.11(a) of the agreement, any prepayment by Revlon

of principal on Eurocurrency loans, like those at issue here, must be preceded by a detailed written

notice three business days in advance.

The August 11 Transfer

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       17.     On August 11, 2020, several months of accrued interest came due under the Credit

Agreement. The interest payment was to be processed by Citibank in its capacity as administrative

agent. No other amount was due at the time, and Revlon transferred no additional funds to Citibank.

       18.     The interest payment was processed by Citibank on August 11, 2020. Due to issues

with the loan-processing system, the payment to each lender was on average more than 100 times

the interest that was actually due. All of the funds managed by HPS and Symphony received

significant overpayments.

       19.     On August 11, Citibank undertook to make payments pursuant to the Credit

Agreement.

       20.     That day, Citibank sent notices (the “Payment Notices”) describing the intended

payments for all of the funds HPS and Symphony manage.

       21.     The Payment Notices follow a standard format. The top portion identified the

payment as a “Libor Rate Interim Interest Payment.” (Emphasis added.) The notices then

provided that “[i]nterim interest is due as per the detailed calculation below.” The calculations

showed the principal of the loan held by each fund; the interest rate; the period of interest being

paid; and the interest due. These notices expressly referenced the intended amount of the payment,

which was far smaller than the actual payment. For example, the Payment Notice sent to Cardinal

Fund LP, a fund managed by HPS stated:




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       22.    Beneath this was a row marked “Total Due,” again stating the correct intended

amount:




       23.    The notices went on to state that “[w]e will credit your account representing the

above Interim Interest.” Fields captioned “Total Due” and “Credit Amount” yet again stated the

intended payment amount. The above notice, for example, included the following section:




       24.    In short, this notice unambiguously explained that Citibank would be sending an

interest payment of $28,310.05. But instead of sending the amount due, Citibank mistakenly sent

$3,268,887.93—more than 100 times what it was due.

       25.    As a result of this sort of error, lenders received payments far greater than they were

due under the Credit Agreement. Each of the Fund Manager defendants processed transactions

worth hundreds of millions of dollars more than should have gone to the Term Lenders on August

11.




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       26.    According to Citibank’s calculations, HPS’s Term Lenders currently have

$$127,336,420.54 more than they are entitled to.

       27.    Similarly, according to Citibank’s calculations, Symphony’s Term Lenders’

received $109,673,303.62. Of that amount, none has been returned.

       28.    The mistaken nature of the payment was obvious from the outset and clear on the

face of the relevant documents.         The Payment Notices were accompanied by “Payment

Transaction” records that did not match. For example, here is the record corresponding to the

Cardinal transaction described above:




       29.    It shows a total “credit amount” of $3,268,887.93. which is wildly different from

the “total due” “credit amount” listed on the Payment Notice.

       30.    The type of error described above was repeated for each of the payments made to

the lenders serviced by HPS and Symphony.

       31.    These overpayments were made with Citibank’s own money. It is not the case that

Citibank was transmitting Revlon’s funds to the Term Lenders. Revlon did not provide such funds.

The mistakenly distributed money belonged entirely to Citibank.

Defendants’ Conversion of Citibank’s Funds




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       32.      Clearly, Citibank made a mistake. Citibank did not intend to transfer more money

than stated in the Payment Notices, let alone with its own funds. That was obvious from the

language of the notices. But beyond that, given the terms of the Credit Agreement, a prepayment

could not have occurred under the circumstances here. The balance of the loan is not due for

another three years, and a prepayment of any amount is only permitted with “irrevocable written

notice” from Revlon three business days in advance. § 2.11(a). No prepayment notice was issued,

because no prepayment was made. Nor was there a payoff letter, which is market standard practice

when payment of the full outstanding balance of a loan is intended. Furthermore, no principal

payment was funded by Revlon. And Citibank never modified the Official Register to reflect a full

or partial discharge of principal in connection with the overpayment.

       33.      As creditors woke up to find thousands if not millions more than expected in their

bank accounts, the overpayment was covered widely by news outlets around the world. The Wall

Street Journal reported that “Citigroup Pays Revlon Lenders Nearly $900 Million by Mistake.”

Bloomberg and Reuters made similar reports. Revlon, for its part, publicly stated that “Revlon did

not pay down the loan or any part of the loan.” And all of the articles made clear that the payment

was mistaken.

       34.      On both August 12 and August 13, 2020, Citibank sent notices asking for the funds

to be returned, less the correct amount of interim interest reflected by the credit amount in the

payment notices. Here is a notice—entitled ***Recall of Funds*** Revlon TL2016—addressed

to Cardinal Fund LP (a HPS Term Lender) at approximately 6:16 pm on August 12, 2020:




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       35.     This notice specifically stated that funds had been paid “in error.”

       36.     When HPS did not return the funds in response to the notice shown above, Citibank

sent a second polite request to have its money returned. This one was sent at approximately 1:11

pm on August 13, 2020:




       37.     Again, Citibank’s notice identified an “error” and requested repayment. But, the

funds have not been returned.

       38.     Citibank sent substantively equivalent notices concerning every mistaken payment.

And it specifically raised the issue of error with the defendants and sought their help.

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       39.     In addition to the notices described above (which went to defendants) Citibank also

specifically contacted the Fund Managers and sought their assistance in obtaining the return of

mistakenly paid funds.

       40.     For example, at approximately 1:07 pm on August 13, 2020 a representative of

Citibank’s loan operations department emailed a contact at HPS. He wrote:




       41.     A similar email was sent to defendant Symphony:




       42.     Despite these and other urgent inquiries from Citibank to HPS and to Symphony,

neither took action to return erroneously transmitted funds to Citibank.

       43.     Also on August 12, several other lenders—including, upon information and belief,

HPS and Symphony—took three actions that showed that they, like everyone else, understood that

the payments made on August 11 had been made with incorrect amounts.

       44.     First, they purported to serve Revlon with a notice of an Event of Default under the

2016 loan. There would have been no reason to serve a notice of an Event of Default if the loan

had just been paid in full.

       45.     Second, acting through UMB Bank, which claims to have been appointed successor

administrative agent, they purported to accelerate the loan’s principal. That acceleration notice was

a clear admission that the lenders did not believe that the principal was repaid (or intended to be

repaid) on August 11; if it had been, there would have been nothing to accelerate.


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       46.     Third, UMB Bank, again claiming to be the administrative agent, filed a 117-page

complaint accusing Revlon of improperly amending the Credit Agreement to avoid paying the

2016 lenders. See Complaint, UMB Bank v. Revlon, No. 20-cv-06352, Dkt. 1 (S.D.N.Y. Aug. 12,

2020). The complaint reconfirmed that the lenders were under no illusion that the loan had been

fully repaid on August 11. Further, it alleged that Revlon was unable to repay the loan, because it

was “insolvent and facing a severe liquidity crisis.”

                                       CAUSES OF ACTION

                                    FIRST CAUSE OF ACTION
                                        Unjust Enrichment
                                        (Both Defendants)

       47.     Citibank repeats, realleges, and incorporates by reference the foregoing allegations

as though fully set forth in this paragraph.

       48.     Defendants were enriched at the direct expense of Citibank, by mistakenly

receiving millions of dollars of Citibank’s money to which they were not entitled.

       49.     Equity and good conscience militate against permitting defendants to retain the

misappropriated funds.

                                 SECOND CAUSE OF ACTION
                                        Conversion
                                     (Both Defendants)

       50.     Citibank repeats, realleges, and incorporates by reference the foregoing allegations

as though fully set forth in this paragraph.

       51.     Defendants have and are continuing to exercise unauthorized dominion over

specifically identifiable assets of Citibank. For each defendant Citibank can identify—precisely—

the amount of money mistakenly transferred on August 11, 2020.

       52.     Despite Citibank’s demands that defendants return the assets in question,

defendants have refused to do so.

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                                  THIRD CAUSE OF ACTION
                                   Money Had and Received
                                          (HPS)

       53.     Citibank repeats, realleges, and incorporates by reference the foregoing allegations

as though fully set forth in this paragraph.

       54.     On August 11, 2020, HPS mistakenly received $133,580,578.83 belonging to

Citibank, and to which HPS had no claim.

       55.     HPS benefitted, and continues to benefit, from the receipt of Citibank’s money.

       56.     Under principles of equity and good conscience, HPS should not be permitted to

keep Citibank’s money.

                                 FOURTH CAUSE OF ACTION
                                     Payment by Mistake
                                          (HPS)

       57.     Citibank repeats, realleges, and incorporates by reference the foregoing allegations

as though fully set forth in this paragraph.

       58.     On August 11, 2020, Citibank mistakenly sent payments to HPS. The payments

were intended to transfer the interim interest owed by Revlon to HPS. Instead, Citibank transferred

an amount more than 100 times greater than the interest owed by Revlon, with the excess coming

from Citibank’s own funds.

       59.     HPS derived a benefit as a result of the mistaken payments.

       60.     Equity demands restitution by HPS to Citibank.

                                  FIFTH CAUSE OF ACTION
                                    Money Had and Received
                                         (Symphony)

       61.     Citibank repeats, realleges, and incorporates by reference the foregoing allegations
as though fully set forth in this paragraph.

       62.     On August 11, 2020, Symphony mistakenly received $109,673,303.62 belonging

to Citibank, and to which Symphony had no claim.
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         63.   Symphony benefitted, and continues to benefit, from the receipt of Citibank’s

money.

         64.   Under principles of equity and good conscience, Symphony should not be permitted

to keep Citibank’s money.

                                   Sixth CAUSE OF ACTION
                                      Payment by Mistake
                                          (Symphony)

         65.   Citibank repeats, realleges, and incorporates by reference the foregoing allegations

as though fully set forth in this paragraph.

         66.   On August 11, 2020, Citibank mistakenly sent payments to Symphony. The

payments were intended to transfer the interim interest owed by Revlon to Symphony. Instead,

Citibank transferred an amount more than 100 times greater than the interest owed by Revlon, with

the excess coming from Citibank’s own funds.

         67.   Symphony derived a benefit as a result of the mistaken payments.

         68.   Equity demands restitution by Symphony to Citibank.


                                      PRAYER FOR RELIEF

         WHEREFORE, Citibank respectfully requests that this Court enter judgment in favor of

Citibank and against HPS and Symphony:




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                  a.        Ordering HPS and Symphony to immediately return the
                            misappropriated funds or, in the alternative, freeze the overpayment
                            received from Citibank and refrain from transferring or distributing
                            those funds;

                  b.        Declaring that Citibank is rightfully entitled to the misappropriated
                            funds;

                  c.        Ordering HPS to return to Citibank the funds misappropriated by
                            HPS, totaling $127,336,420.54;

                  d.        Ordering HPS to pay Citibank interest on the funds misappropriated
                            by HPS for the duration that they remain with HPS;

                  e.        Ordering HPS to pay damages reflecting its misconduct to Citibank;

                  f.        Ordering Symphony to return to Citibank the funds misappropriated
                            by Symphony, totaling $109,673,303.62;

                  g.        Ordering Symphony to pay Citibank interest on the funds
                            misappropriated by Symphony for the duration that they remain with
                            Symphony;

                  h.        Ordering Symphony to pay damages reflecting its misconduct to
                            Citibank;

                  i.        Awarding reasonable costs and expenses incurred in this action,
                            including attorneys’ fees;

                  j.        Awarding pre-judgment interest on all such damages, monetary or
                            otherwise; and

                  k.        Awarding further relief as the Court may deem just and proper.

Dated: August 18, 2020
       New York, New York

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